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                               EXHIBIT 26.A



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
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